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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

ROTHSCHILD PATENT                   §
IMAGING LLC,                        §                Case No: 4:22-cv-01046
                                    §
      Plaintiff,                    §                PATENT CASE
                                    §
vs.                                 §
                                    §
MEDIAFIRE, LLC,                     §
                                    §
      Defendant.                    §
___________________________________ §

                           JOINT STIPULATION OF DISMISSAL

       Plaintiff Rothschild Patent Imaging, LLC and Defendant MediaFire, LLC, by their

respective undersigned counsel, hereby STIPULATE and AGREE as follows:

       1.      All claims asserted by the Plaintiff in this Action are dismissed with prejudice and

all counterclaims asserted by the Defendant in this Action are dismissed without prejudice under

Fed. R. Civ. P. 41(a)(1)(A)(ii);

       2.      Each party shall bear its own costs and attorneys’ fees with respect to the matters

dismissed hereby;

       This Stipulation and Order shall finally resolve the Action between the parties.




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Dated: May 16, 2022.                Respectfully submitted,


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                               CERTIFICATE OF SERVICE

        The undersigned hereby certifies that the foregoing document was filed electronically on
May 16, 2022 and was served via CM/ECF on all counsel who are deemed to have consented to
electronic service.
                                         /s/Jay Johnson
                                         JAY JOHNSON




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DATED this ____ day of _______________, 20_______.

                                 BY THE COURT:




                                 HONORABLE UNITED STATES DISTRICT JUDGE




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